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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

WALT DISNEY PARKS AND RESORTS U.S., INC.,

      Plaintiff,

      v.                                           No. 4:23-cv-163-MW-MJF

RON DESANTIS, in his official capacity
as Governor of Florida, et al.,

     Defendants.
______________________________________/

                   JOINT STIPULATION REGARDING
            BRIEFING SCHEDULE AND SERVICE OF PROCESS

      The parties jointly file this stipulation regarding the briefing schedule for

Defendants’ forthcoming motions to dismiss and issues related to service of process.

In support, they state as follows.

      1. In this action, Walt Disney Parks and Resorts U.S. Inc. has sued the

           Governor, the Secretary of the Department of Economic Opportunity,

           members of the Board of Supervisors for the Central Florida Tourism

           Oversight District (CFTOD), and the Administrator of CFTOD. The

           Governor and the Secretary will be represented by the Attorney General;

           the CFTOD Board and Administrator will be represented by Cooper &

           Kirk, PLLC, and Lawson Huck Gonzalez, PLLC.
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2. All Defendants intend to file motions to dismiss the amended complaint.

   Defendants request, and Plaintiff does not oppose, that the Court set the

   following briefing schedule for the motions to dismiss:

      • Defendants’ Motions to Dismiss: Due 6/26/23

      • Plaintiff’s Responses: Due 7/26/23

      • Defendants’ Replies: Due 8/9/23

3. As for service of process, the parties dispute whether service has been

   properly effected on all Defendants. Without waiving any party’s right to

   litigate that issue in another forum, however, Defendants agree to waive

   service of the Amended Complaint as of the date of this filing, and will not

   contest the sufficiency of service in this action or move to dismiss the

   Amended Complaint under Federal Rules of Civil Procedure 12(b)(4)–(5)

   (while reserving the right to raise arguments regarding the date that service

   was effective).




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Dated: May 22, 2023                 Respectfully submitted,

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                                    Counsel for the CFTOD Board and
                                    Administrator

                                    *pro hac vice motion forthcoming
                                    **admission to the Northern District of
                                    Florida forthcoming




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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 22, 2023, a true and correct copy of the foregoing

was filed with the Court’s CM/ECF system, which will provide service to all parties.

                                           /s/ Henry C. Whitaker
                                           Solicitor General




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